Case 2:05-cr-80025-VAR-RSW ECF No. 590, PageID.5464 Filed 07/28/10 Page 1 of 4




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff(s),                CASE NUMBER: 05-80025
                                                   HONORABLE VICTORIA A. ROBERTS
v.

D-1 TIMOTHY DENNIS O’REILLY,

                Defendant(s).
_________________________________/

                                           ORDER

       Dr. Leigh Hlavaty, Assistant Medical Examiner for Wayne County, did not testify

during Earl Johnson’s trial. Instead, the Government and defense counsel entered into

the following stipulation:

       Dr. Lai Lavati (phonetic), Assistant Medical Examiner for Wayne County
       performed an autopsy on Steven’s[sic] body on December 14, 2001. Dr.
       Lavati (phonetic) found that Stevens[sic] died as the result of two shotgun
       wounds, one to his back and the other to the back of his legs. Dr. Lavati
       (phonetic) found no evidence of close range firing noted on Stevens’[sic]
       skin.

       In the doctor’s opinion, based on the diameter of the pellet spreads, one
       shot was fired from a distance of approximately 57 feet and the other was
       fired from approximately 46 and a half feet.

       The shotgun wound to Stevens’[sic] back was fatal and severed his spinal
       cord, resulting in his being incapable of voluntary movement of his legs.
       The shotgun wound to the back of Stevens’[sic] legs was likewise fatal
       and would have also rendered him incapable of voluntary movement of his
       legs.

       Toxicology testing indicated that Stevens’[sic] blood was free from any
       drugs or alcohol.

Dr. Hlavaty’s testimony in Timothy O’Reilly’s trial is consistent with this stipulation.

                                              1
Case 2:05-cr-80025-VAR-RSW ECF No. 590, PageID.5465 Filed 07/28/10 Page 2 of 4




However, Dr. Hlavaty also testified that her distance measurement could be incorrect if

Mr. Stephens was running, if his legs were apart, or if more than two shotgun blasts

were fired and the pellets overlapped.

       In closing argument, the Government may argue that Dr. Hlavaty’s distance

measurement was simply an estimate, and Mr. Stephens could have been shot at a

closer distance than 57 feet and 46 and a half feet.

       O’Reilly says it is a violation of his due process right for the Government to make

this argument in closing, when the Government stipulated to Dr. Hlavaty’s distance

measurement in Mr. Johnson’s trial. See e.g., Smith v. Groose, 205 F.3d 1045, 1052

(8th Cir. 2000) (“To violate due process, an inconsistency must exist at the core of the

prosecutor’s cases against defendants for the same crime”); Thompson v. Calderon,

120 F.3d 1045, 1058 (9th Cir. 1997) (“it is well established that when no new significant

evidence comes to light a prosecutor cannot, in order to convict two defendants at

separate trials, offer inconsistent theories and facts regarding the same crime”); United

States v. GAF Corp., 928 F.2d 1253, 1260 (2nd Cir. 1991) (“Confidence in the justice

system cannot be affirmed if any party is free, wholly without explanation, to make a

fundamental change in its version of the facts between trials, and then conceal this

change from the final trier of the facts”); United States v. Higgs, 353 F.3d 281, 326 (4th

Cir. 2003):

       In some situations, the Due Process Clause prohibits the government from
       presenting mutually inconsistent theories of the same case against
       different defendants. For example, due process may be violated if “an
       inconsistency . . . exist[s] at the core of the prosecutor’s cases against the
       defendants for the same crime,” see Smith v. Groose, 205 F.3d 1045,
       1052 (8th Cir. 2000) (finding due process violation where prosecution
       obtained two convictions for the same murder based on conflicting

                                             2
Case 2:05-cr-80025-VAR-RSW ECF No. 590, PageID.5466 Filed 07/28/10 Page 3 of 4




       statements from the same cooperating codefendant) (emphasis added), or
       where the evidence used at the two trials is “factually inconsistent and
       irreconcilable,” Paul, 217 F.3d at 998 (holding that government’s argument
       that both defendants were the triggerman and killed the victim was not
       inconsistent).

but see Beathard v. Johnson, 177 F.3d 340, 348 (5th Cir. 1999) (“a prosecutor can

make inconsistent arguments at the separate trials of codefendants without violating the

due process clause”) (citation omitted).

       To cure the due process violation which O’Reilly believes exists, O’Reilly says

that, at a minimum, the jury should be aware that the Government seeks convictions of

co-Defendants in the same crime, using inconsistent theories.

       The Court finds O’Reilly’s due process rights will not be violated by the argument

the Government may make.

       While the Government must prove that O’Reilly killed Mr. Stephens during the

commission of a bank robbery, the distance from which the bullets struck Mr. Stephens

is not essential to prove any element of any crime O’Reilly is charged with. In addition,

whether O’Reilly was the actual shooter does not matter; a jury could convict O’Reilly as

an aider and abettor, or based on Pinkerton v. United States, 328 U.S. 640, 647 (1946).

Finally, the Government’s theory has remained the same: O’Reilly and Watson shot Mr.

Stephens.

       In addition, the Government intends to prove the following non-statutory

aggravating factor at the penalty phase: “Defendant shot Norman Stephens from

behind, and while Stevens[sic] was already wounded and on the ground.” Because the

distance from which Mr. Stephens was shot is not essential to this factor either,

O’Reilly’s due process rights will not be violated at the penalty phase, if the jury is not

                                              3
Case 2:05-cr-80025-VAR-RSW ECF No. 590, PageID.5467 Filed 07/28/10 Page 4 of 4




aware of the Government’s inconsistent positions, assuming they are truly inconsistent.

        The Court DENIES O’Reilly’s request to inform the jury in either the guilt or

penalty phase of the stipulation entered into during the Earl Johnson trial.

        IT IS ORDERED.


                                                 s/Victoria A. Roberts
                                                 Victoria A. Roberts
                                                 United States District Judge

Dated: July 28, 2010

 The undersigned certifies that a copy of this
 document was served on the attorneys of
 record by electronic means or U.S. Mail on
 July 28, 2010.

 s/Linda Vertriest
 Deputy Clerk




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